                                                                                       The Honorable Marc L. Barreca
 1
                                                                                        Hearing Date: March 13, 2024
 2                                                                                            Hearing Time: 9:00 a.m.
                                                                                                           Chapter 13
 3                                                                                     Response Date: March 6, 2024
 4
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 6
 7                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 8                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
      In Re:
10                                                                                No. 23-12555-MLB
      JORDAN D. BUCKLIN and ZOE L.
11
      ZIEGLER,                                                                    ORDER GRANTING RELIEF
12                                                                                FROM STAY
                                                             Debtors.
13
14
15             The motion of Nuvision Credit Union (hereinafter “Creditor”) for an order
16   terminating the automatic stay and requiring surrender of the vehicle came on for hearing
17   pursuant to notice. Timely notice of the motion was given to the attorney for debtor, if
18   any, the debtor, the trustee, and the U.S. Trustee. Creditor has not received a response to

19   its motion; NOW THEREFORE, IT IS HEREBY ORDERED:
20             THAT effective immediately the automatic stay is terminated to permit Creditor

21   to take any and all actions necessary to sell the following described personal property:
22
23
     ORDER GRANTING RELIEF FROM STAY                                                        DAVIES PEARSON, P.C.
24                                                                                               ATTORNEYS AT LAW
     (CASE NO.: 23-12555-MLB)                                                                 1498 Pacific Avenue, Suite 520
25   Page 1 of 2                                                                                     P.O. BOX 1657
     s:\1xxxx\19xxx\197xx\19700\52 - bucklin\pleadings\order re relief from stay.doc         TACOMA, WASHINGTON 98401
                                                                                               TELEPHONE (253) 620-1500
26                                                                                             TOLL-FREE (800) 439-1112
                                                                                                  FAX (253) 572-3052
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29
Case 23-12555-MLB                  Doc 17-2            Filed 02/16/24              Ent. 02/16/24 12:14:39         Pg. 1 of 2
 1   2020 Hyundai Palisade, VIN #KM8R4DHE6LU094624. The proceeds from the sale of
 2   the vehicle will be applied to the debt owed by debtor to Creditor.
 3             THAT this Order shall apply to and be binding in any bankruptcy proceeding to
 4   which this proceeding is converted. This Order is not stayed from enforcement pursuant
 5   to BR 4001.
 6
 7                                                   //// END OF ORDER ////
 8
 9
10   Presented by:
11
     DAVIES PEARSON, P.C.
12
13           s/ Christopher J. Marston
     CHRISTOPHER J. MARSTON, WSB #30571
14   Attorneys for Nuvision Credit Union
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23
     ORDER GRANTING RELIEF FROM STAY                                                        DAVIES PEARSON, P.C.
24                                                                                               ATTORNEYS AT LAW
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